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U.S. Department of Justice

Andrew E. Lelling
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

September 20, 2019
Attorney John Day
Day Law Firm, P.C.
33 Railroad Avenue, Suite 1-4
Duxbury, MA 02332

Re: United States v. Tylor Szalajeski
Criminal No.

Dear Mr. Day:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
' client, Tylor Szalajeski (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

i. Change of Plea

At the earliest practicable date, Defendant will waive Indictment and plead guilty to count
one of the Information: Dealing in Firearms Without a License, in violation of 18 U.S.C.
§ 922(a)(1)(A). Defendant admits that he committed the crime specified in this count and is in fact
guilty.

2. Penalties

Defendant faces the following maximum penalties: incarceration for 5 years; supervised
release for 3 years; a fine of $250,000; a mandatory special assessment of $100; restitution; and
forfeiture to the extent charged in the Information.

3, Sentencing Guidelines

The U.S. Attorney will take the position, based on the following calculations, that
Defendant’s total “offense level” under the Guidelines is 19:

- a) Defendant’s base offense level is 12, because the defendant was not a prohibited
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person at the time of the crime (USSG § 2K2.1(a)(7));

b) Defendant’s offense level is increased by 6, because the offense involved 25 to
99 firearms (USSG § 2K2.1(b)(1)(c));

c) Defendant’s offense level is increased by 4, because the Defendant engaged in
the trafficking of firearms (USSG § 2K2.1(b)(5)); and

d) Defendant’s offense level is decreased by 3, because Defendant has accepted
responsibility for Defendant’s crime(s) (USSG §3E1.1).

Defendant reserves the right to contest certain offense characteristics under USSG §
2K2.1(b)(1) and USSG § 2K2.1(b)(5).

Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant does not clearly accept
responsibility for the crime he is pleading guilty to committing; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4, Sentence Recommendation
The U.S. Attorney agrees to recommend the following sentence to the Court:

a) incarceration at the low the Guidelines sentencing range as calculated by the
_ Court at sentencing, excluding departures;

b) a fine within the Guidelines sentencing range as calculated by the Court at
sentencing, excluding departures, unless the Court finds that Defendant is not
able, and is not likely to become able, to pay a fine;

c) 36 months of supervised release;

d) amandatory special assessment of $100, which Defendant must pay to the Clerk
of the Court by the date of sentencing; and

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e) forfeiture as set forth in Paragraph 6.
5. Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge his conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s. conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) He will not challenge his conviction on direct appeal or in any other proceeding,
including in a separate civil lawsuit; and

b) He will not challenge his sentence, including any court orders related to
forfeiture, restitution, fines or supervised release, on direct appeal or in any
other proceeding, including in a separate civil lawsuit.

Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the right to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these tights in

the first place.

Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor engaged in
misconduct serious enough to entitle Defendant to have his conviction or sentence overturned.

6. Forfeiture
Defendant hereby waives and releases any claims Defendant may have to any firearms,
vehicles, currency, or other personal property seized by the United States, or seized by any state

or local law enforcement agency and turned over to the United States, during the investigation and
prosecution of this case, and consents to the forfeiture of all such assets.

7. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
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Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

8. Breach of Plea Agreement

Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant’s breach, however, would.
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

9. Who is Bound by Plea Agreement
This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

10. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

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If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Philip A. Mallard.

By:

Sincerely,

ANDREW E. LELLING
United States Attorney

/

‘Glenn A. MacKinlay
Chief, Organized Crime Gatté Unit
Timothy E. Moran

Deputy Chief, Organized Crime Gang Unit

 
  

 
  

  

 

“Philip A-Mallard——
_ Assistant U.S. Attorney

 
 
